Case 1:17-cv-02989-AT Document 809-2 Filed 08/24/20 Page 1 of 15




                                                                   E
                                                                   X
                                                                   H
                                                                    I
                                                                   B
                                                                    I
                                                                   T



                                                                   1
           Case 1:17-cv-02989-AT Document 809-2 Filed 08/24/20 Page 2 of 15




                        IN THE UNITED STATES DISTRICT COURT FOR
                           THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


                                                       )
    DONNA CURLING, et al.                              )
                                                       )
    Plaintiff,                                         )
                                                       )   CIVIL ACTION FILE NO.: 1:17-cv-
    vs.                                                )   2989-AT
                                                       )
    BRIAN P. KEMP, et al.                              )
                                                       )
    Defendant.                                         )
                                                       )
                                                       )



                 FIFTH SUPPLEMENTAL DECLARATION OF PHILIP B. STARK

               PHILIP B. STARK hereby declares as follows:

      1. This statement supplements my declarations of September 9, 2018, September 30, 2018,

          October 22, 2019, and December 16, 2019. I stand by everything in the previous

          declarations.

          I.       False Assertions about the Fulton County Pilot Audit

      2. Secretary of State Raffensperger issued the following (undated) press release on

          approximately June 30, 2020:1

                   AUDIT SUPPORTS PRIMARY OUTCOME

                   (ATLANTA) – A pilot post-election audit Monday confirmed the outcomes of
                   the presidential preference primaries in Fulton County, Secretary of State Brad
                   Raffensperger announced today.

                   “This procedure demonstrates once again the validity of the results produced by
                   Georgia’s new secure paper-ballot system,” [SOS Raffensperger] said. “Auditing


1
 https://sos.ga.gov/index.php/general/audit_supports_primary_outcome last visited 27 July
2020.
    Case 1:17-cv-02989-AT Document 809-2 Filed 08/24/20 Page 3 of 15




           returns can now be a regular part of elections because we have paper ballots. That
           gives Georgians confidence that their votes are counted fairly and accurately.”

           The June 9 primary was the first statewide use of Georgia’s new secure paper-
           ballot system. Its use was piloted in last fall’s municipal elections and in two
           special legislative elections held in January and February. Audits of municipal
           voting and one of the special elections showed the system produced accurate
           results in both cases.

           Monday’s audit was a risk-limiting audit. It consisted of manually examining a
           random sample of paper ballots in a selected race to ensure the correct result was
           reported by the election equipment. Both parties’ presidential primary contests
           were audited, with the Democratic race driving the audit due to its smaller margin
           of victory.

           Officials from the Fulton County Board of Registration and Elections conducted
           the audit along established procedures agreed upon by national voting-integrity
           experts.

3. This statement is false and misleading, as I shall explain.

4. First, the so-called audit (a better description would be a “pilot of some procedures

   involved in conducting a risk-limiting audit”) did not “confirm” any outcome. At best, it

   provided statistical evidence that within Fulton County, more ballots available for audit in

   the Presidential Preference Primaries had votes for the reported winners than for any

   other candidate. That does little if anything to confirm who won the Georgia Presidential

   Preference Primaries, i.e., that the contest outcomes were correct.

5. Second, the “audit” did not confirm the “validity of the results” of the election, nor that

   the votes were counted accurately, nor did it “show[] the system produced accurate

   results [].” It did not check the accuracy with which the votes on any ballot or group of

   ballots was counted, nor whether the reported winners of the Presidential Preference

   Primaries really won. It did not check any vote tallies.




                                                                                                 2
        Case 1:17-cv-02989-AT Document 809-2 Filed 08/24/20 Page 4 of 15




    6. Third, the “audit” was not a risk-limiting audit. By definition, a risk-limiting audit has a

       known minimum chance of correcting the reported election outcome if the reported

       outcome is wrong. However:

           a. Auditing in Fulton County alone cannot make such a guarantee: that requires a

               statewide audit, because the contests are statewide.

           b. The “audit” relied on many “remade” or “duplicated” ballots. Supplemental

               Declaration of Rhonda J. Martin, 23 August 2020, at ¶5–11, 15–16, 24–25. Errors

               in remaking ballots would not be detected by this “audit.” Indeed, this “audit”

               assumed there were no errors in the duplication process, rather than checking

               whether duplication errors, if any, might have contributed to altering the reported

               outcome.

           c. The “audit” relied on BMD printout. Errors in the BMD printout would not be

               detected by this audit and cannot be detected by any audit.2

           d. To the best of my knowledge, no steps were taken to ensure that the collection of

               ballots subject to audit was trustworthy. In particular, the numbers fed into the

               software for total ballots and votes for the various candidates disagree with those

               posted on the SOS website. Supplemental Declaration of Rhonda J. Martin, 23

               August 2020, at ¶18, 31.




2
 Appel, A.W., R. DeMillo, and P.B. Stark, 2020. Ballot-Marking Devices Cannot Ensure the
Will of the Voters, Election Law Journal, DOI 10.1089/elj.2019.0619. Appel, A.W. and P.B.
Stark, 2020. Evidence-Based Elections: Create a Meaningful Paper Trail, Then Audit,
Georgetown Law Technology Review, 4, 523–541.

                                                                                                      3
        Case 1:17-cv-02989-AT Document 809-2 Filed 08/24/20 Page 5 of 15




           e. The “audit” was conducted after the election results were certified. I understand

               that therefore, under Georgia law, it had no possibility of correcting the reported

               outcome if the reported outcome was wrong.

    7. Fourth, the “audit” did not follow “established procedures agreed upon by national

       voting-integrity experts.” The consensus document on post-election audits is entitled

       “Principles and Best Practices for Post-Election Tabulation Audits”3 (Principles

       henceforth). Principles has been endorsed by the following entities:

           •   American Statistical Association
           •   Brennan Center for Justice
           •   Center for Democracy and Technology
           •   Center for Internet Security
           •   Citizens for Election Integrity Minnesota
           •   Common Cause
           •   Connecticut Citizen Election Audit
           •   Florida Voters Foundation
           •   Georgians for Verified Voting
           •   National Election Defense Coalition
           •   Protect Democracy
           •   Public Citizen
           •   Verified Voting Foundation


    8. H ere are some (not all) of the principles and best practices that the June, 2020, Fulton

       County “audit” did not follow:

           a. “The audit treats as authoritative only marks on paper that the voter could verify.

               It does not rely upon the accuracy of [] remade ballots or other unverified

               products of the election system [] Remade (or duplicated) ballots cannot be

               verified by the voter, so only the originals can be used in the audit.” Principles, at



3
 https://www.verifiedvoting.org/wp-content/uploads/2019/01/Audit-Principles-Best-Practices-
2018.pdf last visited 27 July 2020.


                                                                                                     4
       Case 1:17-cv-02989-AT Document 809-2 Filed 08/24/20 Page 6 of 15




              8. This “audit” relied on re-made ballots, which voters had no opportunity to

              verify, and on BMD printout, which is a largely unverified product of the election

              system.4

          b. “The public has sufficient access to witness the random drawing, ballot retrieval,

              and other audit procedures, and to verify that voter marks are interpreted correctly

              on the audited ballots.” Principles, at 10. But the public was not able to see

              individual ballots and verify that voter marks were correctly interpreted and

              correctly entered into the software. Supplemental Declaration of Rhonda J.

              Martin, 23 August 2020, at ¶29.

          c. “The public is provided with all necessary information to replicate all decisions

              and calculations made in support of the audit.14 The tabulated vote subtotals by

              audit unit (if such subtotals are used in the audit) and overall totals are published

              (presumably on the official elections website) or committed15, before the random

              selection of audit units, as is the ballot manifest that details how the ballots are

              stored.” Principles, at 10. But the reported contest results were not published

              before the audit, nor (to the best of my knowledge) was the ballot manifest. The

              published results differed substantially from those used in the “audit.”

              Supplemental Declaration of Rhonda J. Martin, 23 August 2020, at ¶18.




4
  DeMillo, R., R. Kadel, and M. Marks. 2018. What Voters Are Asked to Verify Affects Ballot
Verification: A Quantitative Analysis of Voters’ Memories of Their Ballots, SSRN
https://ssrn.com/abstract=3292208, last visited 27 July 2020. Bernhard, M., A. McDonald, H.
Meng, J. Hwa, N. Bajaj, K. Chang, and J.A. Halderman, 2020. Can Voters Detect Malicious
Manipulation of Ballot Marking Devices? IEEE Proc. Security & Privacy, 1, 679-694.
DOI 10.1109/SP40000.2020.00118.
.

                                                                                                      5
Case 1:17-cv-02989-AT Document 809-2 Filed 08/24/20 Page 7 of 15




  d. “All the ballots being tabulated and audited must be verifiably protected from

     loss, substitution, alteration or addition.” Principles, at 12. There is no evidence

     that the ballots, many of which were cast in March, were adequately protected,

     much less verifiably protected: the security of the chain of custody has not been

     established.

  e. “Compliance audits assess the trustworthiness of the paper trail.18 These

     compliance audits include ballot accounting to prevent the addition, subtraction,

     substitution, or alteration of ballots, polling place reconciliations (e.g., comparing

     counts of voters voting to ballots cast); reconciliation of other vote types (e.g.,

     confirming that the number of absentee ballots received matches the total of

     absentee ballots counted and absentee ballots rejected); and reconciliation to

     ensure that all votes from all audit units are correctly summed in the election

     totals.” Principles, at 12. There is no evidence that any form of compliance audit

     was undertaken, much less that a compliance audit generated affirmative evidence

     that the collection of ballots used in the audit were trustworthy.

  f. “Any information (e.g., counts of ballots in batches scanned) taken from the vote

     tabulating system is independently checked (e.g., by weighing ballot batches on a

     precision scale).” Principles, at 12. There is no evidence that the counts of the

     ballots were verified; it appears that Fulton County relied on the voting system to

     report how many ballots there were. This is tantamount to asking the same doctor

     for a second opinion.

  g. “All jurisdictions and all validly cast ballots, including absentee, mail-in and

     accepted provisional ballots, must be taken into account. [] The ballots from all




                                                                                            6
        Case 1:17-cv-02989-AT Document 809-2 Filed 08/24/20 Page 8 of 15




               jurisdictions involved in a contest are subject to audit. Because the type of

               equipment in each jurisdiction may vary, the audit method may differ between

               jurisdictions, but the statistical analysis is based on the audit results for all

               jurisdictions.” Principles, at 13. As mentioned above, only Fulton County ballots

               were taken into account in contests that included many jurisdictions. The “audit”

               ignored the fact that the Presidential Preference Primaries involve all Georgia

               counties. This failure suffices to prevent the audit from being a risk-limiting audit.

           h. “No contest should be excluded a priori from auditing [] All contests are subject

               to some degree of possible auditing [].” I understand that the Democratic

               Presidential Preference Primary was announced to be the contest that would be

               audited long before the certification of the results and the “audit”; there was no

               possibility that any other contest would be audited.5 Supplemental Declaration of

               Rhonda J. Martin, 23 August 2020, at ¶13.

           i. “Statistical experts knowledgeable about post-election audits participate alongside

               stakeholders in designing the audit process.” Principles, at 14. To the best of my

               knowledge, no one with any statistical expertise, particularly in post-election

               audits, was involved in the design of this “audit.”6

           j. “Audits, including any full hand counts that result, must be completed in time to

               change official outcomes if hand counts so indicate.” Principles, at 17. I



5
  I understand that the Republican Presidential Preference Primary was audited
“opportunistically” (rather than using a risk-limiting approach) but no contest other than the
Presidential Preference Primaries was audited.
6
  I know and respect Ms. Monica Childers. She has a great deal of experience working with
election officials, and she is, in my opinion, competent in her role as product manager for
VotingWorks and very intelligent. However, I do not think she would claim to have statistical
expertise, nor am I aware that she does.

                                                                                                    7
        Case 1:17-cv-02989-AT Document 809-2 Filed 08/24/20 Page 9 of 15




               understand that this “audit” was performed after certification and did not have the

               legal ability to change official outcomes.

    9. The method of selecting the ballots to inspect manually that the Fulton County “audit”

       used is called “ballot polling.”

    10. I invented risk-limiting audits and virtually every extant method for performing risk-

       limiting audits, including ballot-polling risk-limiting audits.7 I was the first person to pilot

       a ballot-polling risk-limiting audit, in Monterey, CA, in May, 2011. I was a co-author of

       the first two publications describing ballot-polling risk-limiting audits. I published the

       first software tool to conduct ballot-polling risk-limiting audits.8 That tool was the

       official tool used by the State of Colorado for its ballot-polling risk-limiting audits and is

       referenced in Colorado election regulations.

    11. The VotingWorks Arlo software used in the Fulton County audit incorporates my

       algorithm, and I understand that VotingWorks benchmarked the Arlo software against

       mine to confirm theirs was a correct implementation of the algorithm. Ben Adida,

       personal communication, 2019.

    12. A ballot-polling risk-limiting audit does not check the tabulation of votes, per se. It just

       checks whether anyone other than the reported winner got as many or more votes than the

       reported winner got in a given collection of ballots. It does not check whether any ballot

       or any group of ballots was tabulated correctly. Every single vote could have been

       mistabulated and yet the reported winner could still have really won. A ballot-polling



7
  I coined most of the common terminology in the field, too, including “risk-limiting audit,” “risk
limit,” “comparison audit,” “ballot-level comparison audit,” “batch-level comparison audit,”
“ballot-polling audit,” “risk-measuring audit,” “measured risk,” “ballot manifest,” “compliance
audit” (in the context of elections), and “evidence-based elections.”
8
  https://www.stat.berkeley.edu/~stark/Vote/ballotPollTools.htm last visited 27 July 2020.

                                                                                                       8
       Case 1:17-cv-02989-AT Document 809-2 Filed 08/24/20 Page 10 of 15




       audit would not detect that, because the outcome is correct despite the complete

       mistabulation.

    13. Moreover, there are many things a ballot-polling audit does not check that are crucial to

       verifying election results and confirming outcomes. Among them are the following:

           a. Risk-limiting audits do not check whether the collection of ballots from which the

               sample is drawn is the “right” collection, i.e., whether it contains every validly

               cast ballot and no others. (That is the role of the compliance audit.)

           b. Risk-limiting audits do not check whether the votes were recorded correctly. (No

               audit of BMD printout can check that.)

           c. Ballot-polling risk-limiting audits do not check the tabulation of any ballot nor

               any group of ballots, except in the sense that they check whether the reported total

               was wrong by more than the reported margin.9 In the matter at hand, the “audit”

               did not even check whether the reported total for the contest was wrong by more

               than the reported margin, because it sampled only from Fulton County. Whether

               the reported winner of Fulton County really got more votes than other candidates

               in Fulton County does not determine whether the overall reported winner of the

               Georgia Democratic Presidential Preference Primary really won.

    14. In a commencement speech at Caltech in 1974, Nobel Prize-winning physicist Richard

       Feynman discussed work that has some of the appearance of science but does not actually

       practice the scientific method. He called such activity cargo-cult science.10 The term is



9
  Comparison audits, a different approach to risk-limiting audits, do check the tabulation of
groups of ballots or individual ballots.
10
   Richard P. Feynman, R. Leighton, and E. Hutchings, Surely you’re joking, Mr.
Feynman! W.W. Norton, 1985.


                                                                                                    9
   Case 1:17-cv-02989-AT Document 809-2 Filed 08/24/20 Page 11 of 15




   derived from Melanesian cultures that had an influx of various goods during World War

   II as a result of military presence on the islands. Postwar, some of those societies tried to

   lure the cargo planes back by making faux landing strips, using fires as runway lights,

   and pretending to communicate with planes using wooden headsets. They imitated what

   they had seen with no understanding of what it signified nor why it worked in the past. It

   was a pointless ritual.

15. So far, Georgia’s election “audits” are pilots of some auditing procedures, but they are

   not true risk-limiting audits. From the perspective of election integrity, they are cargo-

   cult audits. They use some of the procedures, terminology, and software involved in

   actual risk-limiting audits, but not in a way that is probative. The Secretary of State

   evidently has little understanding of what is actually necessary to provide evidence that

   election results are correct and trustworthy and little understanding of the limitations of

   the procedure pilots that have been conducted, including the June pilot in Fulton County.

   Georgia’s “audits” have had about as much chance of catching outcome-changing errors

   as the cargo cult rituals had of summoning cargo planes.

16. Moreover, the ballot marking devices, vote tabulation equipment, and ballot duplication

   and handling procedures could have malfunctioned materially—enough to change the

   reported outcome of the primary—and the “audit” would have little or no chance of

   detecting the problem, and no chance whatsoever of correcting the problem.

17. The Fulton County pilot was worth doing. It gave Georgia more experience with some

   (not all) of the procedures involved in conducting a bona fide risk-limiting audit. But it

   was not a risk-limiting audit. From the perspective of checking whether the reported

   winners of this election really won, it was just a ritual. It did not show that any election




                                                                                                  10
   Case 1:17-cv-02989-AT Document 809-2 Filed 08/24/20 Page 12 of 15




   outcome is correct, that any ballot was tabulated correctly, that any election equipment

   functioned properly, or that Georgia’s elections are trustworthy.


   II.     Proposed New Election Rules

18. New rules have been proposed for the State Elections Board, per NOTICE OF INTENT

   TO POST A RULE OF THE STATE ELECTIONS BOARD, TITLE 183-1, RULES OF

   STATE ELECTION BOARD, CHAPTER 183-1-15, RETURNS OF PRIMARIES AND

   ELECTIONS AND NOTICE OF PUBLIC HEARING, dated 11 August 2020, which

   announced a hearing to occur on 10 September 2020.

19. Proposed 183-1-15-.04 addresses auditing.

20. The proposed rule is grossly deficient. I shall give several examples.

21. First, the rule calls for auditing only one contest every two years. Statistics is a powerful

   tool, but auditing one contest among dozens does not magically show that the outcome of

   any other contest is correct. Procedural failures and other human errors, misconfiguration,

   and hacking may and do affect some contests but not others. The proposed rule is

   analogous to claiming that a car is safe if one of its brakes is inspected every other year,

   or that an employee’s expense reports are accurate if an auditor checks one receipt every

   other year. Every contest in every election should receive some scrutiny. See paragraph

   8(h), supra.

22. Second, the rule allows the Secretary of State to select the contest for audit, and explicitly

   allows the Secretary to make that selection on political grounds. That has at least three

   bad consequences: (i) The vast majority of contests have zero chance of being audited,

   and thus the “threat” of audit will not deter malfeasance. (ii) Audits can be politicized and

   weaponized, rather than serving to provide a scientific basis for assessing whether



                                                                                                11
   Case 1:17-cv-02989-AT Document 809-2 Filed 08/24/20 Page 13 of 15




   election results are trustworthy. (iii) The Secretary of State may face political pressure in

   selecting the contest to audit. For instance, local election officials might want to

   minimize their workload by auditing the contest expected to require the least effort—i.e.,

   the contest with the widest margin.

23. Third, the rule says the audit “shall be open to the view of the public and press.” That is

   important but insufficient: it does not ensure that the public and the press can observe in

   adequate detail to determine whether the audit was conducted correctly. The public

   needs to be able to confirm that the audit did not stop prematurely; otherwise, there is no

   reason the audit should inspire trust. To tell whether the audit stopped prematurely, the

   public needs to be able to confirm (i) that the correct ballots were retrieved by the

   auditors, (ii) that the voters’ marks on those ballots were correctly interpreted by the

   auditors, and (iii) that the interpretations were correctly entered into the audit software.

   The public also needs evidence that the “ballot manifest” is complete and accurate and

   was used correctly in selecting the sample of ballots to inspect. (The rule does not ensure

   that ballot manifests are constructed without reliance on the voting system; see paragraph

   8(f), supra.) For “comparison audits,” the public also needs to be able to confirm that the

   cast vote records or electronic subtotals used in the audit reproduce the reported contest

   results, and to confirm that those cast vote records or subtotals were used correctly in

   determining whether the risk limit was met. See paragraphs 8(b) and 8(c), supra.

24. Fourth, the rule does not provide for a “compliance audit” to establish whether the audit

   trail is trustworthy. See paragraphs 8(d) and 8(e), supra.

25. Fifth, the rule does not ensure that the Secretary of State receives enough information to

   determine whether the audit terminated prematurely. To “report the results of the audit” is




                                                                                                  12
       Case 1:17-cv-02989-AT Document 809-2 Filed 08/24/20 Page 14 of 15




       woefully non-specific; moreover, the rule does not require that the county reports be

       made available to the public.

   26. Sixth, the rule does not ensure adequate attention to the security of the paper trail before,

       during, and after the audit. The provision for “a log of the serial numbers on the ballot

       containers” does nothing to ensure that seals were properly affixed and logged when the

       ballots were tabulated then inspected carefully for tampering before the audit, and that

       fresh seals were properly affixed, photographed, and recorded when the containers are

       closed at the end of the audit.

   27. For a list of principles for election integrity legislation and regulation that addresses

       many shortcomings of the proposed rule, see Appel, A. and P.B. Stark, 2020. Evidence-

       Based Elections: Create a Meaningful Paper Trail, Then Audit, Georgetown Law

       Technology Review, 4, 523–541. https://georgetownlawtechreview.org/wp-

       content/uploads/2020/07/4.2-p523-541-Appel-Stark.pdf

   28. In summary, the proposed audit rules are “security theater” unable to catch even serious,

       outcome-altering problems in the determination of voter eligibility, the recording of

       votes, the duplication of ballots, the chain of custody of ballots, nor—in the vast majority

       of contests—the tabulation of votes. And the rules do not ensure that the audit, even if it

       is conducted properly, produces public evidence that the audited outcome is trustworthy.



I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that the foregoing is true

and correct.




                                                                                                   13
Case 1:17-cv-02989-AT Document 809-2 Filed 08/24/20 Page 15 of 15




Executed on this date, 23 August 2020.



                                    _______________________________

                                         Philip B. Stark




                                                                      14
